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                      EXHIBIT 46
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    1          IN THE UNITED STATES DISTRICT COURT
    2           FOR THE NORTHERN DISTRICT OF OHIO
    3                   EASTERN DIVISION
    4                        - - -
    5
            IN RE: NATIONAL                        :    HON. DAN A.
    6       PRESCRIPTION OPIATE                    :    POLSTER
            LITIGATION                             :
    7                                              :
            APPLIES TO ALL CASES                   :    NO.
    8                                              :    1:17-MD-2804
                                                   :
    9
                        - HIGHLY CONFIDENTIAL -
   10
          SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
   11
                                        -     -    -
   12
                              January 30, 2019
   13
                                        -     -    -
   14
   15                  Videotaped deposition of
          JOHN ADAMS, taken pursuant to notice,
   16     was held at the offices of Carella Byrne,
          P.C., 5 Becker Farm Road, Roseland, New
   17     Jersey, beginning at 9:22 a.m., on the
          above date, before Michelle L. Gray, a
   18     Registered Professional Reporter,
          Certified Shorthand Reporter, Certified
   19     Realtime Reporter, and Notary Public.
   20                      - - -
   21
                   GOLKOW LITIGATION SERVICES
   22          877.370.3377 ph | 917.591.5672 fax
                         deps@golkow.com
   23
   24

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    1     to formalize the micro-marketing campaign
    2     strategy for hydrocodone with
    3     acetaminophen by the end of fiscal year
    4     '05?
    5                 A.        Yes.      And the
    6     micro-marketing campaign, as I look
    7     through this, AmerisourceBergen has a
    8     generic source program, which they have
    9     customers that are enrolled in this
   10     program.         And so if a pharmacy orders a
   11     specific product -- so in this case,
   12     let's say -- let's say they order
   13     hydrocodone with acetaminophen, the goal
   14     was to be the primary dispensed product.
   15     So that pharmacist would order a product
   16     based on their demand.                   And then
   17     AmerisourceBergen in this case would ship
   18     their primary product that was on that
   19     source program.
   20                           In this case, we were not
   21     initially the primary product, but we
   22     earned what was called a dual primary.
   23     So that meant the pharmacist, in ordering
   24     the product, could choose Actavis, or at
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    1     that time Watson product, or Mallinckrodt
    2     product.
    3                           So our goal was if that
    4     pharmacist was to order the product based
    5     on their own demand, that the product
    6     that was -- that was -- that they chose
    7     was ours, instead of Watson.
    8                           So it was nothing more
    9     than -- than if 100 percent of the market
   10     is being pulled through this particular
   11     wholesaler, we wanted to be the one that
   12     the pharmacist chose.
   13                 Q.        You wanted to increase
   14     market share?
   15                 A.        We wanted to increase our
   16     market share of that customer.                        But that
   17     does not do anything to increase the
   18     market itself.             So if AmerisourceBergen
   19     has 100 million doses that they sell into
   20     the market, our goal was to get six --
   21     excuse me, 600,000 -- excuse me, 600 --
   22     sorry, what did I say, a hundred million.
   23     Sorry.
   24                           A hundred million doses.
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    1     Our goal was to get 600 thousand of that.
    2                           Is that right?             Yeah, of
    3     that amount to -- which was again just
    4     filling what was already there as the
    5     demand that their pharmacist had, but it
    6     didn't expand the amount of pills being
    7     used.
    8                 Q.        And what was the
    9     micro-marketing campaign strategy for
   10     this hydrocodone product?
   11                 A.        I don't remember specifics,
   12     but as I read through this, there is an
   13     inside sales team that would call the
   14     pharmacies and let the pharmacies -- make
   15     them aware that when they ordered from
   16     AmerisourceBergen, they had a choice
   17     between Mallinckrodt product or Watson
   18     product.         And they could work to talk
   19     with those pharmacists to make them aware
   20     of our access on that contract.
   21                 Q.        Do you see maybe two pages
   22     in, there's a document with an eagle on
   23     it that states, "Trust in our strengths"?
   24                 A.        Yes.
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